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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Jane Doe
                                          Plaintiff,
v.                                                       Case No.: 1:17−cv−03688
                                                         Honorable John Robert Blakey
Harpercollins Publishers, LLC, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 25, 2018:


        MINUTE entry before the Honorable Sheila M. Finnegan: The 7/26/2018
settlement conference will be rescheduled at the request of Defendants' counsel and
without objection. The parties are directed to contact the Courtroom Deputy
(312−408−5110) by 8/1/2018 to arrange a new date for the settlement conference.Mailed
notice(sxw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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